 Case: 1:18-cv-05369 Document #: 36 Filed: 10/18/18 Page 1 of 1 PageID #:1098

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Ubiquiti Networks, Inc.
                                       Plaintiff,
v.                                                        Case No.: 1:18−cv−05369
                                                          Honorable Gary Feinerman
Cambium Networks, Inc., et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, October 18, 2018:


       MINUTE entry before the Honorable Gary Feinerman:Status hearing held and
continued to 12/11/2018 at 9:15 a.m. Defendants, who have filed a memorandum in
support of dismissal [33] but not a formal motion to dismiss, shall file a formal motion to
dismiss. Plaintiff's response due by 11/16/2018; reply due by 12/5/2018. The time to serve
MIDP disclosures is extended to 12/5/2018.Mailed notice.(jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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